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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

OWEN HARTY
                         Plaintiff,
               v.                                         CIVIL ACTION NO.
POOJA & DEVANG INC.
                                                          18-3556
                         Defendant.

                                              ORDER


           AND NOW, this 16th day of October, 2018, it having been reported that the issues

between the parties in the above action have been settled and upon Order of the Court pursuant

to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, IT IS

ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement of the

parties.

           IT IS FURTHER ORDERED that if the case was placed in civil suspense that the Clerk

of Court transfer that case from the civil suspense file to the current docket for final disposition

and CLOSE the case.



                                                       BY THE COURT:

                                                       /s/ Cynthia M. Rufe

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                                                       CYNTHIA M. RUFE, J.
